Case 19-14867-CMG              Doc 61 Filed 08/22/20 Entered 08/23/20 00:24:45                        Desc Imaged
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Form 148 − ntcdsmcs

                                   UNITED STATES BANKRUPTCY COURT


District of New Jersey
402 East State Street
Trenton, NJ 08608

                                         Case No.: 19−14867−CMG
                                         Chapter: 13
                                         Judge: Christine M. Gravelle

In Re: Debtor(s) (name(s) used by the debtor(s) in the last 8 years, including married, maiden, trade, and address):
   Kenneth Marshall                                         Myra Marshall
   128 Manhattan Ave                                        128 Manhattan Ave
   Bayville, NJ 08721−2140                                  Bayville, NJ 08721−2140
Social Security No.:
   xxx−xx−6885                                              xxx−xx−9437
Employer's Tax I.D. No.:


                                    NOTICE OF ORDER DISMISSING CASE


       NOTICE IS HEREBY GIVEN that an Order Dismissing the above captioned Case
as to the:
       Debtor and Joint Debtor was entered on August 19, 2020.

       Any discharge which was granted as to the above mentioned debtor(s) in this case is vacated. All outstanding
fees to the Court incurred by the dismissed debtor(s) are due and owing and must be paid within five (5) days from
the date of this Order.

      This dismissal may mean that the debtor is ineligible to file another bankruptcy petition for 180 days under 11
U.S.C. § 109(g).




Dated: August 20, 2020
JAN: dmi

                                                                      Jeanne Naughton
                                                                      Clerk
    Case 19-14867-CMG           Doc 61 Filed 08/22/20 Entered 08/23/20 00:24:45                 Desc Imaged
                                     Certificate of Notice Page 2 of 5
                                      United States Bankruptcy Court
                                         District of New Jersey
In re:                                                                                  Case No. 19-14867-CMG
Kenneth Marshall                                                                        Chapter 13
Myra Marshall
         Debtors
                                        CERTIFICATE OF NOTICE
District/off: 0312-3           User: admin                  Page 1 of 4                   Date Rcvd: Aug 20, 2020
                               Form ID: 148                 Total Noticed: 138


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Aug 22, 2020.
db/jdb          Kenneth Marshall,     Myra Marshall,    128 Manhattan Ave,    Bayville, NJ 08721-2140
aty           #+KML Law Group PC,     216 Haddon Ave,    Suite 406,    Westmont, NJ 08108-2812
lm             +Bayview Financial Loan Services,      4425 Ponce DeLeon Blvd.,,     Floor5q,
                 Coral gable, FL 33146-1873
518074425       AES/PHEAA,    Attn: Bankruptcy,    1200 N 7th St,     Harrisburg, PA 17102-1419
518074427      +AR Resources,    1777 Sentry Pkwy W,     Blue Bell, PA 19422-2206
518074424       Aes/educaid,    Attn: Bankruptcy Dept,     PO Box 2461,    Harrisburg, PA 17105-2461
518074428       Atantic Shore Surgical,     478 Brick Blvd,    Brick, NJ 08723-6077
518074431       Barron Emergency Physicians,     PO Box 7418,    Philadelphia, PA 19101-7418
518074434      +Berkeley Township Sewerage Authority,      255 Atlantic City Blvd.,     Bayville, NJ 08721-1296
518074442       CARECENTRIX,    2269 S Sawmill,    Elmsford, NY 10523
518074444       Cbna,    Citi Credit,    Bureau DISPUTE,    Sioux Falls, SD 57101
518074445       Ces/navient,    Utica, NY 13501
518074448       Citibank Na,    Po Box 528,    Pelham, NY 10803
518074452       Citimortgage,    Attn: Centralized Bankruptcy,      PO Box 9438,    Gaithersburg, MD 20898-9438
518074473       Ditech,    Attn: Bankruptcy,    PO Box 6172,    Rapid City, SD 57709-6172
518074478      #First Data,    5565 Glenridge Connector Ste 2000,      Atlanta, GA 30342-4799
518074479       First Data,    265 Broadhollow Rd # R,     Melville, NY 11747-4833
518074481       Firstmark,    121 S 13th St,    Lincoln, NE 68508-1904
518074482       Firstmark/MFA,    Attn: Bankruptcy Claims,     PO Box 82505,     Lincoln, NE 68501-2505
518074483       GE Capital Retail Bank,     PO Box 4586,    New York, NY 10163-4586
518074487       Iorio Plastic Surgery,     1140 Burnt Tavern Rd Ste 1D,     Brick, NJ 08724-1496
518074489      #KM Law Group, LLC,      216 Haddon Ave Ste 406,     Westmont, NJ 08108-2812
518074492       MDS Medical Devices,     2411 S 1560 W,    Woods Cross, UT 84087-2327
518074496       Mn Self Loan,    1450 Energy Park Dr,     Saint Paul, MN 55108-5274
518074498       Myriad Emergency Phys, LLC,     PO Box 80137,    Philadelphia, PA 19101-1137
518131467      +NJSVS, Bankruptcy Unit,     PO BOX 136,    Trenton, NJ 08601-0136
518164906      +Nelnet on behalf of ASA,     American Student Assistance,     PO BOX 16129,
                 St. Paul. MN 55116-0129
518074504       Ocean Heart Group,     9 Hospital Dr # 21A,    Toms River, NJ 08755-6425
518130382      +Ocean Orthonedic Associates,     c/o Michael R. Mazzoni, P.A.,      1170 E. Landisi Avenue,
                 Vineland, NJ 08360-4216
518074506      +Ocean Orthopedic Associates, PA,      530 Lakehurst Road, 1st Floor,     Toms River, NJ 08755-8063
518185133       Pendrick Capital Partners II, LLC,      Peritus Portfolio Services II, LLC,     PO BOX 141419,
                 IRVING, TX 75014-1419
518074508       Pineland Associates,     1608 Route 88 Ste 208,     Brick, NJ 08724-3009
518074512      +Rcs Mtg,    350 S Grand Ave,    Los Angeles, CA 90071-3406
518074514       Sears/Cbna,    PO Box 6217,    Sioux Falls, SD 57117-6217
518140973       Syndale Corporation,     PO Box 3246,    Harvey Cedars, NJ 08008-0323
518255900      +THE BANK OF NEW YORK MELLON,     Bayview Loan Servicing, LLC,
                 4425 Ponce De Leon Blvd., 5th Floor,      Coral Gables, FL 33146-1837
518726788       THE BANK OF NEW YORK MELLON FKA THE BANK OF NEW YO,       P.O. Box 10826,
                 Greenville, SC 29603-0826
518726789       THE BANK OF NEW YORK MELLON FKA THE BANK OF NEW YO,       P.O. Box 10826,
                 Greenville, SC 29603-0826,      THE BANK OF NEW YORK MELLON FKA THE BANK,      P.O. Box 10826,
                 Greenville, SC 29603-0826
518149632      +THE BANK OF NEW YORK MELLON FKA THE BANK OF NEW YO,       c/o Jenelle C. Arnold, ALDRIDGE PITE, LL,
                 4375 Jutland Drive, Suite 200,      P.O. Box 17933,    San Diego, CA 92177-7921
518074521       Township Of Berkeley Tax Collector,      627 Pinewald-Keswick Road PO Box B,
                 Bayville, NJ 08721-0287
518074523       US Bank Cust for Acct Liren,     50 S 16th St Ste 2050,     Philadelphia, PA 19102-2516
518295360      +US Bank Cust for PC7 Firstrust,      c/o Gary C. Zeitz, LLC,     1101 Laurel Oak Road, Suite 170,
                 Voorhees, NJ 08043-4381
518074526       Visa Dept Store National Bank/Macy’s,      Attn: Bankruptcy,     PO Box 8053,
                 Mason, OH 45040-8053
518074527       We Efs,    PO Box 5185,    Sioux Falls, SD 57117-5185
518074531       World Financial Network Bank,     120 Corporate Blvd Ste 1,      Norfolk, VA 23502-4952

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
smg             E-mail/Text: usanj.njbankr@usdoj.gov Aug 21 2020 01:27:34      U.S. Attorney,    970 Broad St.,
                 Room 502,   Rodino Federal Bldg.,    Newark, NJ 07102-2534
smg            +E-mail/Text: ustpregion03.ne.ecf@usdoj.gov Aug 21 2020 01:27:30      United States Trustee,
                 Office of the United States Trustee,    1085 Raymond Blvd.,   One Newark Center,    Suite 2100,
                 Newark, NJ 07102-5235
518074426      +EDI: RMCB.COM Aug 21 2020 04:38:00      Amca,   2269 S Saw Ml,   Elmsford, NY 10523-3832
518074429       EDI: BANKAMER.COM Aug 21 2020 04:38:00      Bank of America,   Attn: Bankruptcy,    PO Box 982238,
                 El Paso, TX 79998-2238
518074430       EDI: BANKAMER.COM Aug 21 2020 04:38:00      Bankamerica,   4909 Savarese Cir,
                 Tampa, FL 33634-2413
518074432      +E-mail/Text: bkmailbayview@bayviewloanservicing.com Aug 21 2020 01:28:03
                 Bayview Financial Loan,   Attn: Bankruptcy Dept,    4425 Ponce de Leon Blvd Fl 5,
                 Coral Gables, FL 33146-1873
    Case 19-14867-CMG           Doc 61 Filed 08/22/20 Entered 08/23/20 00:24:45                 Desc Imaged
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                               Form ID: 148                 Total Noticed: 138


Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center
(continued)
518074433      +E-mail/Text: bkmailbayview@bayviewloanservicing.com Aug 21 2020 01:28:03
                 Bayview Financial Loan,    4425 Ponce de Leon Blvd,    Coral Gables, FL 33146-1873
518074437       EDI: CAPITALONE.COM Aug 21 2020 04:38:00       Capital One,    Po Box 85520,    Richmond, VA 23285
518074441       EDI: CAPITALONE.COM Aug 21 2020 04:38:00       Capital One Bank USA N,     15000 Capital One Dr,
                 Richmond, VA 23238-1119
518074511       E-mail/Text: Bankruptcy.RI@Citizensbank.com Aug 21 2020 01:26:19        Rbs Citizens Cc,
                 1 Citizens Dr # Msc Rop,    Riverside, RI 02915-3026
518074453       E-mail/Text: Bankruptcy.RI@Citizensbank.com Aug 21 2020 01:26:19        Citiznsbnkna,
                 1000 Lafayette Blvd,    Bridgeport, CT 06604-4725
518074435       E-mail/Text: bankruptcy@cavps.com Aug 21 2020 01:27:55        Calvary SPV I, LLC,
                 500 Summit Lake Dr Ste 400,    Valhalla, NY 10595-2321
518074436       EDI: CAPITALONE.COM Aug 21 2020 04:38:00       Capital One,    PO Box 30253,
                 Salt Lake City, UT 84130-0253
518074438       EDI: CAPITALONE.COM Aug 21 2020 04:38:00       Capital One,    Attn: Bankruptcy,    PO Box 30285,
                 Salt Lake City, UT 84130-0285
518074439       EDI: CAPONEAUTO.COM Aug 21 2020 04:38:00       Capital One Auto Finan,     PO Box 259407,
                 Plano, TX 75025-9407
518074440       EDI: CAPONEAUTO.COM Aug 21 2020 04:38:00       Capital One Auto Finance,     Attn: Bankruptcy,
                 PO Box 30285,   Salt Lake City, UT 84130-0285
518119483      +EDI: AISACG.COM Aug 21 2020 04:38:00      Capital One Auto Finance, a division of,
                 AIS Portfolio Services, LP,    4515 N Santa Fe Ave. Dept. APS,     Oklahoma City, OK 73118-7901
518165032      +EDI: AISACG.COM Aug 21 2020 04:38:00      Capital One Auto Finance, a division of Capital On,
                 P.O. Box 4360,   Houston, TX 77210-4360
518173240      +EDI: AIS.COM Aug 21 2020 04:38:00      Capital One Bank (USA), N.A.,     4515 N Santa Fe Ave,
                 Oklahoma City, OK 73118-7901
518238352       EDI: BL-BECKET.COM Aug 21 2020 04:38:00      Capital One, N.A.,     c/o Becket and Lee LLP,
                 PO Box 3001,   Malvern PA 19355-0701
518074443       E-mail/Text: bankruptcy@cavps.com Aug 21 2020 01:27:55        Cavalry Portfolio Serv,
                 PO Box 27288,   Tempe, AZ 85285-7288
518197436      +E-mail/Text: bankruptcy@cavps.com Aug 21 2020 01:27:55        Cavalry SPV I, LLC,
                 500 Summit Lake Drive, Ste 400,    Valhalla, NY 10595-2321
518074449       EDI: CITICORP.COM Aug 21 2020 04:38:00      Citibank/Sears,     Attn: Bankruptcy,    PO Box 6275,
                 Sioux Falls, SD 57117-6275
518074450       EDI: CITICORP.COM Aug 21 2020 04:38:00      Citicards Cbna,     Citi Bank,    PO Box 6077,
                 Sioux Falls, SD 57117-6077
518074451       EDI: CITICORP.COM Aug 21 2020 04:38:00      Citicards Cbna,     PO Box 6241,
                 Sioux Falls, SD 57117-6241
518074452       EDI: CIAC.COM Aug 21 2020 04:38:00      Citimortgage,    Attn: Centralized Bankruptcy,
                 PO Box 9438,   Gaithersburg, MD 20898-9438
518074454      +EDI: WFNNB.COM Aug 21 2020 04:38:00      Comenity Bank,     Po Box 182789,
                 Columbus, OH 43218-2789
518074456       EDI: WFNNB.COM Aug 21 2020 04:38:00      Comenity Bank/Avenue,     PO Box 182789,
                 Columbus, OH 43218-2789
518074455       EDI: WFNNB.COM Aug 21 2020 04:38:00      Comenity Bank/Avenue,     Attn: Bankruptcy,
                 PO Box 182125,   Columbus, OH 43218-2125
518074457       EDI: WFNNB.COM Aug 21 2020 04:38:00      Comenity Bank/Chadwicks,     Attn: Bankruptcy,
                 PO Box 182125,   Columbus, OH 43218-2125
518074458       EDI: WFNNB.COM Aug 21 2020 04:38:00      Comenity Bank/Kingsize,     Attn: Bankruptcy,
                 PO Box 182125,   Columbus, OH 43218-2125
518074459       EDI: WFNNB.COM Aug 21 2020 04:38:00      Comenity Bank/Kingsize,     PO Box 182789,
                 Columbus, OH 43218-2789
518074461       EDI: WFNNB.COM Aug 21 2020 04:38:00      Comenity Bank/Roamans,     Attn: Bankruptcy,
                 PO Box 182125,   Columbus, OH 43218-2125
518074460       EDI: WFNNB.COM Aug 21 2020 04:38:00      Comenity Bank/Roamans,     PO Box 182789,
                 Columbus, OH 43218-2789
518074462       EDI: WFNNB.COM Aug 21 2020 04:38:00      Comenity Bank/Womnwt,     Attn: Bankruptcy,
                 PO Box 182125,   Columbus, OH 43218-2125
518074465       EDI: WFNNB.COM Aug 21 2020 04:38:00      ComenityCapital/Boscov,     Attn: Bankruptcy Dept,
                 PO Box 182125,   Columbus, OH 43218-2125
518074463       EDI: WFNNB.COM Aug 21 2020 04:38:00      Comenitybank/chadwicks,     PO Box 182789,
                 Columbus, OH 43218-2789
518074464       EDI: WFNNB.COM Aug 21 2020 04:38:00      Comenitybk/fullbeauty,     PO Box 182789,
                 Columbus, OH 43218-2789
518074466       EDI: WFNNB.COM Aug 21 2020 04:38:00      Comenitycb/boscov,     PO Box 182120,
                 Columbus, OH 43218-2120
518074467       E-mail/Text: clientservices@credit-control.com Aug 21 2020 01:27:35         Credit Control,
                 5757 Phantom Dr Ste 330,    Hazelwood, MO 63042-2429
518074468       E-mail/PDF: creditonebknotifications@resurgent.com Aug 21 2020 01:38:11         Credit One Bank,
                 ATTN: Bankruptcy Department,    PO Box 98873,    Las Vegas, NV 89193-8873
518074469       E-mail/PDF: creditonebknotifications@resurgent.com Aug 21 2020 01:36:25         Credit One Bank NA,
                 PO Box 98875,   Las Vegas, NV 89193-8875
518074470       EDI: DIRECTV.COM Aug 21 2020 04:33:00      Direct TV,    PO Box 78626,     Phoenix, AZ 85062-8626
518122155       EDI: DISCOVER.COM Aug 21 2020 04:38:00      Discover Bank,     Discover Products Inc,
                 PO Box 3025,   New Albany, OH 43054-3025
518074471       EDI: DISCOVER.COM Aug 21 2020 04:38:00      Discover Fin Svcs LLC,     PO Box 15316,
                 Wilmington, DE 19850-5316
518074472       EDI: DISCOVER.COM Aug 21 2020 04:38:00      Discover Financial,     PO Box 3025,
                 New Albany, OH 43054-3025
     Case 19-14867-CMG          Doc 61 Filed 08/22/20 Entered 08/23/20 00:24:45                  Desc Imaged
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                               Form ID: 148                 Total Noticed: 138


Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center
(continued)
518074475       EDI: TSYS2.COM Aug 21 2020 04:38:00       Dsnb Macys,    PO Box 8218,    Mason, OH 45040-8218
518283584       EDI: ECMC.COM Aug 21 2020 04:38:00       Educational Credit Management Corporation,
                 P.O. Box 16408,    St. Paul, MN 55116-0408
518283585       EDI: ECMC.COM Aug 21 2020 04:38:00       Educational Credit Management Corporation,
                 P.O. Box 16408,    St. Paul, MN 55116-0408,     Educational Credit Management Corporatio,
                 P.O. Box 16408,    St. Paul, MN 55116-0408
518074476       E-mail/Text: bknotice@ercbpo.com Aug 21 2020 01:27:39        Erc,    PO Box 57547,
                 Jacksonville, FL 32241-7547
518074477       EDI: BLUESTEM Aug 21 2020 04:33:00       Fingerhut,    Attn: Bankruptcy,    PO Box 1250,
                 Saint Cloud, MN 56395-1250
518074480       E-mail/Text: nculp@firstffcu.com Aug 21 2020 01:28:28        First Financial Fed Cu,     PO Box 1172,
                 Toms River, NJ 08754-1172
518166546      +EDI: CBS7AVE Aug 21 2020 04:38:00       Ginny’s,    c/o Creditors Bankruptcy Service,
                 P.O. Box 800849,    Dallas, TX 75380-0849
518074484       EDI: CBS7AVE Aug 21 2020 04:38:00       Ginny’s Inc,    1112 7th Ave,    Monroe, WI 53566-1364
518074485       EDI: CBS7AVE Aug 21 2020 04:38:00       Ginnys/Swiss Colony Inc,     Attn: Credit Department,
                 PO Box 2825,    Monroe, WI 53566-8025
518074486       E-mail/Text: hannlegal@hannfinancial.com Aug 21 2020 01:26:53         Hann Financial Service,
                 1 Centre Dr,    Jamesburg, NJ 08831-1564
518254456       EDI: JEFFERSONCAP.COM Aug 21 2020 04:38:00        Jefferson Capital Systems LLC,     PO Box 7999,
                 Saint Cloud MN 56302-9617
518074488       EDI: JEFFERSONCAP.COM Aug 21 2020 04:38:00        Jefferson Capital Systems, LLC,
                 16 McLeland Road,    St. Cloud, MN 56303-0000
518074446       EDI: JPMORGANCHASE Aug 21 2020 04:33:00       Chase Card,    PO Box 15298,
                 Wilmington, DE 19850-5298
518074447       EDI: JPMORGANCHASE Aug 21 2020 04:33:00       Chase Card Services,     Attn: Bankruptcy,
                 PO Box 15298,    Wilmington, DE 19850-5298
518074490       E-mail/Text: PBNCNotifications@peritusservices.com Aug 21 2020 01:26:30          Kohls/Capital One,
                 Kohls Credit,    PO Box 3120,    Milwaukee, WI 53201-3120
518074491      +E-mail/Text: PBNCNotifications@peritusservices.com Aug 21 2020 01:26:30          Kohls/capone,
                 N56 W 17000 Ridgewood Dr,     Menomonee Falls, WI 53051-7096
518074493       E-mail/PDF: MerrickBKNotifications@Resurgent.com Aug 21 2020 01:37:56          Merrick Bank Corp,
                 PO Box 9201,    Old Bethpage, NY 11804-9001
518074494       E-mail/PDF: MerrickBKNotifications@Resurgent.com Aug 21 2020 01:37:48
                 Merrick Bank/Cardworks,    Attn: Bankruptcy,     PO Box 9201,    Old Bethpage, NY 11804-9001
518074495       EDI: CBS7AVE Aug 21 2020 04:38:00       Midnight Velvet,    Attn: Bankruptcy,     1112 7th Ave,
                 Monroe, WI 53566-1364
518074497       EDI: CBS7AVE Aug 21 2020 04:38:00       Montgomery Ward,    1112 7th Ave,    Monroe, WI 53566-1364
518166545      +EDI: CBS7AVE Aug 21 2020 04:38:00       Montgomery Ward,    c/o Creditors Bankruptcy Service,
                 P.O. Box 800849,    Dallas, TX 75380-0849
518074499       EDI: NAVIENTFKASMSERV.COM Aug 21 2020 04:38:00        Navient,    PO Box 9500,
                 Wilkes Barre, PA 18773-9500
518074500       EDI: NAVIENTFKASMSERV.COM Aug 21 2020 04:38:00        Navient,    Attn: Bankruptcy,    PO Box 9000,
                 Wilkes Barre, PA 18773-9000
518165071      +E-mail/Text: GUARBKe-courtdocs@ascendiumeducation.org Aug 21 2020 01:26:11
                 Navient Solutions, LLC on behalf of,     Ascendium Education Solutions, Inc.,      PO BOX 8961,
                 Madison, WI 53708-8961
518074501       E-mail/Text: electronicbkydocs@nelnet.net Aug 21 2020 01:27:36         Nelnet,    Attn: Claims,
                 PO Box 82505,    Lincoln, NE 68501-2505
518074502       E-mail/Text: electronicbkydocs@nelnet.net Aug 21 2020 01:27:36         Nelnet Lns,    PO Box 1649,
                 Denver, CO 80201-1649
518074503      +E-mail/Text: bstreno@comcast.net Aug 21 2020 01:28:26        Ocean Eye Institute,
                 601 Route 37 West,    Toms River, NJ 08755-8050
518074505       E-mail/Text: OMCbankruptcy@hackensackmeridian.org Aug 21 2020 01:28:18          Ocean Medical Center,
                 PO Box 417140,    Boston, MA 02241-7140
518074507       E-mail/Text: info@phoenixfinancialsvcs.com Aug 21 2020 01:26:10         Phoenix Financial Services,
                 PO Box 361450,    Indianapolis, IN 46236-1450
518074510       EDI: PRA.COM Aug 21 2020 04:38:00       Portfolio Recovery Associates, LLC,      PO Box 41067,
                 Norfolk, VA 23541-1067
518223628       EDI: PRA.COM Aug 21 2020 04:38:00       Portfolio Recovery Associates, LLC,      c/o Brylane Home,
                 POB 41067,    Norfolk VA 23541
518249871       EDI: PRA.COM Aug 21 2020 04:38:00       Portfolio Recovery Associates, LLC,      c/o Jessica London,
                 POB 41067,    Norfolk VA 23541
518074509       EDI: PRA.COM Aug 21 2020 04:38:00       Portfolio Recov Assoc,     120 Corporate Blvd Ste 1,
                 Norfolk, VA 23502-4952
518074513      +E-mail/Text: bk-notification@sps-law.com Aug 21 2020 01:26:19         Schachter Portnoy LLC,
                 3490 US Route 1,    Princeton, NJ 08540-5920
518074515       EDI: CBS7AVE Aug 21 2020 04:38:00       Seventh Avenue,    1112 7th Ave,    Monroe, WI 53566-1364
518166547      +EDI: CBS7AVE Aug 21 2020 04:38:00       Seventh Avenue,    c/o Creditors Bankruptcy Service,
                 P.O. Box 800849,    Dallas, TX 75380-0849
518074516       EDI: RMSC.COM Aug 21 2020 04:38:00       Syncb/Care Credit,    950 Forrer Blvd,
                 Kettering, OH 45420-1469
518074517       EDI: RMSC.COM Aug 21 2020 04:38:00       Syncb/jcp,    PO Box 965007,    Orlando, FL 32896-5007
518077954      +EDI: RMSC.COM Aug 21 2020 04:38:00       Synchrony Bank,    c/o of PRA Receivables Management, LLC,
                 PO Box 41021,    Norfolk, VA 23541-1021
518074518       EDI: RMSC.COM Aug 21 2020 04:38:00       Synchrony Bank/ Jc Penneys,     Attn: Bankruptcy,
                 PO Box 956060,    Orlando, FL 32801-5060
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Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center
(continued)
518074519       EDI: RMSC.COM Aug 21 2020 04:38:00      Synchrony Bank/Care Credit,    Attn: Bankruptcy Dept,
                 PO Box 965060,   Orlando, FL 32896-5060
518074520       EDI: LCITDAUTO Aug 21 2020 04:38:00      Td Auto Finance,    PO Box 9223,
                 Farmington Hills, MI 48333-9223
518074524       EDI: VERIZONCOMB.COM Aug 21 2020 04:38:00       Verizon,   Verizon Wireless Bk Admin,
                 500 Technology Dr Ste 550,    Saint Charles, MO 63304-2225
518239881      +EDI: AIS.COM Aug 21 2020 04:38:00      Verizon,    by American InfoSource as agent,
                 4515 N Santa Fe Ave,    Oklahoma City, OK 73118-7901
518074525       EDI: VERIZONCOMB.COM Aug 21 2020 04:38:00       Verizon,   500 Technology Dr,
                 Weldon Spring, MO 63304-2225
518074529       EDI: WFFC.COM Aug 21 2020 04:38:00      Wells Fargo Bank,    Attn: Bankruptcy Dept,    PO Box 6429,
                 Greenville, SC 29606-6429
518074528       EDI: BLUESTEM Aug 21 2020 04:33:00      Webbank/fingerhut,    6250 Ridgewood Rd,
                 Saint Cloud, MN 56303-0820
518074530      +EDI: WFNNB.COM Aug 21 2020 04:38:00      Wfnnb/brylane Home,    Po Box 182789,
                 Columbus, OH 43218-2789
                                                                                               TOTAL: 94

             ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
518251744*        Capital One, N.A.,    c/o Becket and Lee LLP,   PO Box 3001,   Malvern PA 19355-0701
518074522*        Township Of Berkeley Tax Collector,    627 Pinewald-Keswick Road PO Box B,
                   Bayville, NJ 08721-0287
518074474       ##Ditech Financial LLC,    PO Box 6172,   Rapid City, SD 57709-6172
                                                                                               TOTALS: 0, * 2, ## 1

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.

Addresses marked ’#’ were identified by the USPS National Change of Address system as requiring an update.
While the notice was still deliverable, the notice recipient was advised to update its address with the court
immediately.

Addresses marked ’##’ were identified by the USPS National Change of Address system as undeliverable.                             Notices
will no longer be delivered by the USPS to these addresses; therefore, they have been bypassed. The
debtor’s attorney or pro se debtor was advised that the specified notice was undeliverable.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Aug 22, 2020                                             Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on August 20, 2020 at the address(es) listed below:
              Albert Russo    on behalf of Trustee Albert Russo docs@russotrustee.com
              Albert Russo    docs@russotrustee.com
              Daniel E. Straffi    on behalf of Joint Debtor Myra Marshall bkclient@straffilaw.com,
               G25938@notify.cincompass.com;familyclient@straffilaw.com;bktrustee@straffilaw.com
              Daniel E. Straffi    on behalf of Debtor Kenneth Marshall bkclient@straffilaw.com,
               G25938@notify.cincompass.com;familyclient@straffilaw.com;bktrustee@straffilaw.com
              Linda S. Fossi    on behalf of Creditor   US Bank Cust for PC7 Firstrust lfossi@zeitzlawfirm.com,
               gzeitz@zeitzlawfirm.com;cdillon@zeitzlawfirm.com;rzeitz@zeitzlawfirm.com
              U.S. Trustee   USTPRegion03.NE.ECF@usdoj.gov
                                                                                             TOTAL: 6
